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                                Exhibit B
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CP Enclosure with EEOC Form 5 (11/09)

PRIVACY ACT STATEMENT: Under the Privacy Act of 1974, Pub. Law 93-579, authority to request personal
data and its uses are:

1. FORM NUMBER/TITLE/DATE. EEOC Form 5, Charge of Discrimination (11/09).

2. AUTHORITY. 42 U.S.C. 2000e-5(b), 29 U.S.C. 211, 29 U.S.C. 626, 42 U.S.C. 12117, 42 U.S.C. 2000ff-6.

3. PRINCIPAL PURPOSES. The purposes of a charge, taken on this form or otherwise reduced to writing
   (whether later recorded on this form or not) are, as applicable under the EEOC anti-discrimination statutes
   (EEOC statutes), to preserve private suit rights under the EEOC statutes, to invoke the EEOC's jurisdiction
   and, where dual-filing or referral arrangements exist, to begin state or local proceedings.

4. ROUTINE USES. This form is used to provide facts that may establish the existence of matters covered by
   the EEOC statutes (and as applicable, other federal, state or local laws). Information given will be used by
   staff to guide its mediation and investigation efforts and, as applicable, to determine, conciliate and litigate
   claims of unlawful discrimination. This form may be presented to or disclosed to other federal, state or
   local agencies as appropriate or necessary in carrying out EEOC's functions. A copy of this charge will
   ordinarily be sent to the respondent organization against which the charge is made.

5. WHETHER DISCLOSURE IS MANDATORY; EFFECT OF NOT GIVING INFORMATION. Charges must be
   reduced to writing and should identify the charging and responding parties and the actions or policies
   complained of. Without a written charge, EEOC will ordinarily not act on the complaint. Charges under
   Title VII, the ADA or GINA must be sworn to or affirmed (either by using this form or by presenting a
   notarized statement or unsworn declaration under penalty of perjury); charges under the ADEA should
   ordinarily be signed. Charges may be clarified or amplified later by amendment. It is not mandatory that
   this form be used to make a charge.

NOTICE OF RIGHT TO REQUEST SUBSTANTIAL WEIGHT REVIEW
Charges filed at a state or local Fair Employment Practices Agency (FEPA) that dual-files charges with EEOC
will ordinarily be handled first by the FEPA. Some charges filed at EEOC may also be first handled by a FEPA
under worksharing agreements. You will be told which agency will handle your charge. When the FEPA is
the first to handle the charge, it will notify you of its final resolution of the matter. Then, if you wish EEOC to
give Substantial Weight Review to the FEPA's final findings, you must ask us in writing to do so within 15
days of your receipt of its findings. Otherwise, we will ordinarily adopt the FEPA's finding and close our file
on the charge.

NOTICE OF NON-RETALIATION REQUIREMENTS
Please notify EEOC or the state or local agency where you filed your charge if retaliation is taken against
you or others who oppose discrimination or cooperate in any investigation or lawsuit concerning this charge.
Under Section 704(a) of Title VII, Section 4(d) of the ADEA, Section 503(a) of the ADA and Section 207(f)
of GINA, it is unlawful for an employer to discriminate against present or former employees or job applicants,
for an employment agency to discriminate against anyone, or for a union to discriminate against its members
or membership applicants, because they have opposed any practice made unlawful by the statutes, or because
they have made a charge, testified, assisted, or participated in any manner in an investigation, proceeding, or
hearing under the laws. The Equal Pay Act has similar provisions and Section 503(b) of the ADA prohibits
coercion, intimidation, threats or interference with anyone for exercising or enjoying, or aiding or encouraging
others in their exercise or enjoyment of, rights under the Act.

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